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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

___________________________________________
                                           )
FADI HUSSEIN SERHAN                        )
                        Plaintiff,         )
                                           )                     Case No. 1:19-cv-751-JEB
      v.                                   )
                                           )
ANDREA M. GACKI, et al.                    )
                        Defendants.        )
___________________________________________)

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Counsel for Plaintiff and Defendants have agreed to terms resolving the claims in this

matter without the need for further litigation. Therefore, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), the parties stipulate and agree to dismiss Plaintiff’s Amended

Complaint (ECF No. 8) with prejudice, and with each party bearing its own costs, attorney fees,

and expenses.


Dated: November 26, 2019
                                                   Respectfully submitted,
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